   Case: 1:22-cv-06645 Document #: 29 Filed: 01/06/23 Page 1 of 3 PageID #:1240




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
  EDUARDO ANDRE ELY,

         Plaintiff,                                         Case No.: 1:22-cv-06645

  v.                                                        Judge Mary M. Rowland

  THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Susan E. Cox
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                       DEFENDANT
                 49                                           VIPgod
                 73                                          64HYDRO
                 53                                          Aligament
                 56                                          SineMine
                  8                                      WANHU Co.,Ltd
                 43                                          Meikosks
                 74                                       RKSTN Fashion
                 40                                         life loveyou
                 52                                       CHENWANRU
                 61                         hengKExike 🎅🎅 7-15 days Fast Delivery🎅🎅
                 16                             Rn xiaoerduo 7-15 Days Delivery
                 57                              🔥🔥 Discount Promotion ☛ lcziwo
                 58                                          HAI-H
                 55                                       JUEBO Fashion
                  3                                           zuiziwan
   Case: 1:22-cv-06645 Document #: 29 Filed: 01/06/23 Page 2 of 3 PageID #:1241




              44                                   Easymodel
              45                            SHUSAMHA (7-14 Days)
              42                                     L-Peng
              67                       oil-LIKIO-US（✈7-14 days delivery）
              41                                   chaocaish


DATED: January 6, 2023                     Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone: 312- 971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:22-cv-06645 Document #: 29 Filed: 01/06/23 Page 3 of 3 PageID #:1242




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on January 6, 2023 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
